United States District Court
District of Massachusetts

 

United States of America,
Plaintiff,

Criminal Action No.
18-10206-NMG

v.
Alexander Grinis,

Defendant.

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MEMORANDUM AND ORDER

GORTON, J.

Currently pending before the Court is the emergency motion
of defendant Alexander Grinis for modification of sentence and
compassionate release pursuant to 18 U.S.C. § 3582(c) (1) (A). In
light of the COVID-19 pandemic, Grinis seeks to have this Court
reduce his nine-month prison sentence, of which he has now
served more than seven months, to time served and to allow him
to self-quarantine in home confinement.

After defendant was sentenced on the charge of making a
false statement on a loan application, he self-surrendered to
the custody of the Bureau of Prisons (“BOP”) and was
incarcerated at the Federal Medical Center in Devens,

Massachusetts (“FMC Devens”). His current projected release
date is June 16, 2020, and he is subject to a two-year term of
supervised release.

On April 17, 2020, Grinis, represented by counsel,
submitted a formal request for Compassionate Release/Reduction
in Sentence to FMC Devens. BOP denied that request.

Shortly thereafter, Grinis was informed by BOP that he had
been “cleared for review” and was eligible for advanced and
extended home confinement. That determination was made pursuant
to the guidances provided by Attorney General William Barr on
March 26, and April 2, 2020, 18 U.S.C. § 3624(c) (2) and the
recently enacted CARES Act. Prior to his release, however,
defendant was required to undergo a 14-day quarantine to
counteract the risk of community spread of COVID-19.

As a result of apparent “[a]nxiety-fueled confusion” Grinis
refused to enter the quarantine facility. BOP informed Grinis
that his refusal to obey orders would result in a disciplinary
infraction and jeopardize his eligibility for home confinement.
As a consequence, Grinis was promptly transferred to isolation
in the Special Housing Unit (“SHU”) at FMC Devens, where he
remains today.

Pursuant to 18 U.S.C. § 3582(c), the Court

may not modify a term of imprisonment once it has been

imposed except. . . upon motion of the Director of the

Bureau of Prisons, or upon motion of the defendant after
the defendant has fully exhausted all administrative
rights. . . if it finds that extraordinary and compelling
reasons warrant such a reduction;

Grinis has submitted a formal request to FCM Devens for
either a sentence reduction or compassionate release which was
considered and denied. The Court finds that defendant has
therefore fully exhausted his administrative rights and his
motion is properly before this Court.

The Court also finds that, in light of (1) the COVID-19
pandemic and the national emergency declared by the President of
the United States; (2) the particular risk of infection and
transmission risk in penitentiary facilities; (3) defendant’s
status as a non-violent first-time offender who does not pose a
danger to the community; 4) BOP’s recent conclusion that Grinis
“fit[s] the criteria for being at high risk for COVID-19” given
his serious health conditions, and 5) that, as of May 5, 2020,
Grinis will have been quarantined for the required 14 days as a
result of being held in the SHU for his disciplinary infraction,
there exist extraordinary and compelling circumstances which
warrant a reduction in defendant’s sentence.

Given the described circumstances, the Court determines
that, after he completes his 14-day quarantine on May 5, 2020,
Grinis is eligible for a sentence reduction to time served,

whereupon his term of supervised release will commence subject
to the additional special condition that he remain in home
confinement without electronic monitoring through June 16, 2020.
ORDER

For the foregoing reasons, the emergency motion of
defendant for modification of sentence and compassionate release
(Docket No. 156) is ALLOWED, in part, and DENIED, in part. Upon
completion on May 5, 2020, of Grinis’ quarantine in the Special
Housing Unit of the Bureau of Prisons facility in which he is
currently incarcerated, his sentence is hereby reduced to time
served. Upon release, his term of supervised release will
commence and run until June 16, 2022, subject to all previously
imposed conditions and the additional special condition that he
remain in home confinement without electronic monitoring until

June 16, 2020.

So ordered.

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Nathaniel M. Gorton
United States District Judge
Dated May 4 7, 2020
